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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

  RAEANN BAYLESS,

         Plaintiff,

  v.                                                        Case No. 6:20-cv-831-Orl-37GJK

  BOSTON SCIENTIFIC
  CORPORATION; and COLOPLAST
  CORP.,

         Defendants.


                                           ORDER

         Before the Court is Defendant Boston Scientific Corporation’s (“BSC”) Motion for

  Summary Judgement (Doc. 110 (“BSC’s MSJ”)), BSC’s Daubert motion on Dr.

  Rosenzweig’s case-specific opinions (Doc. 111 (“BSC’s Daubert”)), and Defendant

  Coloplast Corp.’s (“Coloplast”) Motion for Summary Judgment (Doc. 114 (“Coloplast

  MSJ”)). Briefing was completed and the Court held a hearing on the motions. (Docs. 123,

  125, 126, 131, 132, 162.) On review, the Court denies all motions.

                                    I.     BACKGROUND

         This case is one of thousands of related cases remanded from MDL 2326 involving

  alleged issues with BSC’s transvaginal mesh product. 1 (See Doc. 4.)

         Plaintiff Raeann Bayless (“Bayless”) suffered from multiple pelvic conditions,



         1See Humleker v. Bos. Sci. Corp., No. 6:19-cv-121-Orl-31EJK, 2020 WL 6870852, at *1
  (M.D. Fla. Oct. 2, 2020).
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  including two types of pelvic organ prolapse (“POP”) (a uterine prolapse and a cystocele

  or a bladder prolapse) and stress urinary incontinence (“SUI”). (Doc. 110-3, pp. 4–5, 7–8;

  Doc. 110-4, p. 76:17–24.) After consulting with her physician, Dr. Kathy Jones, Bayless

  decided to undergo surgery—she had a hysterectomy and two medical mesh devices,

  BSC’s Advantage Fit Transvaginal Mid-Urethral Sling System (“Advantage Fit”) and

  Coloplast’s Restorelle Y, implanted to treat her POP and SUI. (Doc. 113-10, pp. 45:13–16,

  81:9–11.) The meshes were implanted at two different locations: the Restorelle Y was

  implanted transabdominally and used to suspend the vagina within the abdomen,

  restoring the vagina to its normal position; the Advantage Fit was implanted

  transvaginally, being placed under her urethra to support it and address her SUI. (See

  Doc. 110-5, pp. 82:2–5, 105:6–111:23; Docs. 110-9, 110-10.) After the surgery, Bayless

  suffered from mesh erosions and exposure, vaginal bleeding, and infections. (See Doc.

  110-3, p. 10.)

         So Bayless sued both BSC and Coloplast alleging negligence, design defect, and

  failure to warn. 2 (See Doc. 1.) This case was remanded from MDL 2326 on May 11, 2020.

  (See Docs. 59, 88.) After remand, the parties were given the opportunity to supplement

  their briefing and file an additional case-specific Daubert and motion for summary

  judgment. (See Docs. 97–98.) The Court then held a hearing on December 1, 2020. (See




         2 Bayless has represented to both the Court and Defendants that she does not
  intend to proceed on the breach of warranty or manufacturing defect claims or on the
  claims in Count VII (discovery rule, tolling, fraudulent concealment). (Doc. 133, p. 11:3–
  6; Doc. 110, p. 1 n.1.)
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  Doc. 162.)

                                    II.     LEGAL STANDARDS

         A.      Daubert Standard

         When it comes to expert testimony, a district court is tasked with a gatekeeping

  role. Hendrix ex rel. G.P. v. Evenflo Co., 609 F.3d 1183, 1194 (11th Cir. 2010) (citing Daubert

  v. Merrell Dow Pharm., Inc., 509 U.S. 579, 592–93 (1993)). Expert testimony may only be

  admitted into evidence if: (1) “the expert is qualified to testify”; (2) “the methodology by

  which the expert reaches his conclusions is sufficiently reliable”; and (3) “the testimony

  assists the trier of fact, through the application of scientific, technical, or specialized

  expertise, to understand the evidence or to determine a fact in issue.” City of Tuscaloosa v.

  Harcros Chem., Inc., 158 F.3d 548, 562 (11th Cir. 1998); see also Fed. R. Evid. 702.

         The proponent of the expert opinion must establish admissibility. See Kilpatrick v.

  Breg, Inc., 613 F.3d 1329, 1335 (11th Cir. 2010). But the proponent need not prove that the

  opinion is scientifically correct, just that it is reliable and helpful. See Lord v. Fairway Elec.

  Corp., 223 F. Supp. 2d 1270, 1279 (M.D. Fla. 2002) (citation omitted). The court’s limited

  gatekeeping role “is not intended to supplant” presentation of contrary evidence or

  cross-examination. See United States v. Ala. Power Co., 730 F.3d 1278, 1282–85 (11th Cir.

  2013) (quotation marks and citation omitted).

         B.      Summary Judgment Standard

         Summary judgment is appropriate only “if the movant shows that there is no

  genuine dispute as to any material fact and that [it] is entitled to judgment as a matter of

  law.” Fed. R. Civ. P. 56(a); Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). “A factual
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  dispute is genuine ‘if the evidence is such that a reasonable jury could return a verdict

  for the nonmoving party.’” United States v. Four Parcels of Real Prop. in Green & Tuscaloosa

  Ctys., 941 F.2d 1428, 1437 (11th Cir. 1991) (quoting Anderson v. Liberty Lobby, Inc.,

  477 U.S. 242, 248 (1986)). A court must view the evidence and all reasonable inferences

  drawn from the evidence in the light most favorable to the nonmovant, Battle v. Bd. of

  Regents, 468 F.3d 755, 759 (11th Cir. 2006), such that “when conflicts arise between the

  facts evidenced by the parties, [the court] credit[s] the nonmoving party’s version,” Evans

  v. Stephens, 407 F.3d 1272, 1278 (11th Cir. 2005). But the “court need not permit a case to

  go to a jury . . . when the inferences that are drawn from the evidence, and upon which

  the non-movant relies, are ‘implausible.’” Mize v. Jefferson City Bd. of Educ., 93 F.3d 739,

  743 (11th Cir. 1996) (citation omitted).

                                        III.   ANALYSIS

         The Court first addresses BSC’s case specific Daubert against Dr. Rosenzweig

  before turning to the motions for summary judgment.

         A.     BSC’s Case-Specific Daubert

         BSC moves to exclude the case-specific testimony of Dr. Rosenzweig as unreliable

  and unhelpful. (Doc. 111.) BSC argues his case specific report was impermissibly

  prepared based solely on Plaintiff’s medical records, without the benefit of deposition

  testimony from Plaintiff or her implanting surgeon. (Id. at 9–10.) And, BSC claims, the

  unreliability of this report is demonstrated when Dr. Rosenzweig appeared to contradict

  or modify many of his prior findings in his subsequent deposition based on information


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  he gleaned from later reviewing this testimony. (See id.)

         Plaintiff responds that related MDLs have routinely found Dr. Rosenzweig’s case

  specific opinions—developed using the same methodology applied here—reliable and

  admissible. (See Doc. 126. 3) As to his later deposition testimony, Plaintiff points out that

  while Dr. Rosenzweig indicated the Restorelle Y may have contributed more to Plaintiff’s

  injuries, Dr. Rosenzweig never outright recanted his prior expert report, instead

  repeating his prior opinion that Plaintiff’s injuries were caused by both the Restorelle Y

  and the Advantage Fit. (Id. at 4–5 (citing Doc. 125-3, pp. 210:11–211:8).) Plaintiff has the

  better argument.

         Dr. Rosenzweig was not required to personally examine or speak with Plaintiff for

  opinions based on her medical records to be admissible, provided he otherwise met the

  Daubert requirements. See Armstead Armstead v. Coloplast Corp., No. 1:19-CV-1000, 2020

  WL 353576, at *3–4 (M.D.N.C. Jan. 21, 2020); see also Geyer v. NCL (Bahamas) Ltd., 203 F.

  Supp. 3d 1212, 1216–18 (S.D. Fla. 2016). BSC points to no other flaws in the expert report

  or methodology itself, instead relying on comparisons between the report and Dr.

  Rosenzweig’s later deposition testimony. (See Doc. 111.) But inconsistencies between the

  report and his testimony properly goes to the weight a jury should give the evidence, not




         3See also Mathison v. Bos. Sci. Corp., No. 2:13-cv-05851, 2015 WL 2124991, at *20
  (S.D.W. Va. May 6, 2015); Carlson v. Bos. Sci. Corp., No. 2:13-cv-05475, 2015 WL 1931311,
  at *21–22 (S.D.W. Va. Apr. 28, 2015); Priddy v. C.R. Bard, Inc., No. 2:13-cv-10318, 2018 WL
  662500, at *2 (S.D.W. Va. Feb. 1, 2018); Chrastecky v. C.R. Bard, Inc., No. A-19-CV-1240-LY-
  SH, 2020 WL 748182, at *5–6 (W.D. Tex. Feb. 14, 2020); Armstead v. Coloplast Corp., No.
  1:19-CV-1000, 2020 WL 353576, at *3–4 (M.D.N.C. Jan. 21, 2020).
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  its admissibility. See Daubert, 509 U.S. at 596 (“Vigorous cross-examination, presentation

  of contrary evidence, and careful instruction on the burden of proof are the traditional

  and appropriate means of attacking shaky but admissible evidence.”); see also Moore v.

  Wright Med. Tech., Inc., No. 1:14-cv-62, 2016 WL 1316716, at *5 (S.D. Ga. Mar. 31, 2016).4

  While his later testimony may cast doubt on his earlier opinions, this is a question for the

  jury—not the Court. See Daubert, 509 U.S. at 596. BSC’s Daubert Motion is denied.

         B.     BSC’s MSJ

         Now that the Court has determined Dr. Rosenzweig’s case-specific expert report

  and the opinions contained therein are admissible, much of BSC’s causation argument

  fails. BSC argues it’s entitled to summary judgment on Plaintiff’s claims because Dr.

  Rosenzweig cannot establish there is a material dispute with regard to specific causation.

  (Doc. 110, pp. 9–12.) Not so.

         Under Florida law, a plaintiff must “present evidence that the defendant’s conduct

  was, more likely than not, a ‘substantial factor’ in causing the injury.” Whitney v. R.J.

  Reynolds Tobacco Co., 157 So. 3d 309, 312 (Fla. 1st DCA 2014); see also Florida Standard Jury

  Instruction 401.12(b). But “a defendant’s conduct need not be the only cause of a

  plaintiff’s injuries, or even fifty-one percent of the cause” and a plaintiff “is not required

  to prove that the defendant’s conduct alone was more likely than not the sole proximate

  cause.” Whitney, 157 So. 3d at 312. In his expert report, Dr. Rosenzweig opined to a




         Advanced Fiber Tech. Tr. v. J & L Fiber Servs., Inc., No. 1:07-CV-1191 (LEK/DRH),
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  2010 WL 1930569, at *6 (N.D.N.Y. May 11, 2010).
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  reasonable degree of medical and scientific certainty the Advantage Fit and the Restorelle

  Y-mesh both caused Plaintiff’s injuries. (Doc. 125-4, pp. 10–11.) He reiterated this opinion,

  albeit to a lesser extent, in his deposition. (Doc. 125-5, pp. 210:10–211:8.) While at various

  points in his deposition he indicates he believes that the Restorelle Y—and not the

  Advantage Fit—is responsible for Plaintiff’s injuries, inconsistent statements are properly

  addressed on vigorous cross-examination, not used to exclude testimony or invalidate

  evidence on a motion for summary judgment. See Rivera v. LeBron, 824 F. App’x 838, 842

  (11th Cir. 2020); see also supra Section III.A. As Plaintiff has produced enough evidence, at

  this stage, that a reasonable jury could conclude the Advantage Fit was more likely than

  not a substantial factor in causing her injuries, BSC’s MSJ on causation is denied. 5

         Next, BSC argues Plaintiff’s failure to warn claim fails as a matter of law. (Doc.

  110, pp. 13–17.) For this claim to survive, Plaintiff must show: “(1) that the product

  warning was inadequate; (2) that the inadequacy proximately caused her injury; and (3)

  that she in fact suffered an injury from using the product.” Eghnayem v. Bos. Sci. Corp., 873

  F.3d 1304, 1321 (11th Cir. 2017). BSC argues the warnings were adequate and there is no

  evidence of proximate cause. (Doc. 110, pp. 13–17.) This argument is unconvincing.

         Under the learned intermediary doctrine, BSC’s duty to warn runs through the

  physician, not directly to Plaintiff. See Christopher v. Cutter Lab., 53 F.3d 1184, 1192 (11th

  Cir. 1995). So the question is whether the label adequately warns physicians of the



        This finding does not preclude BSC from raising similar concerns on a motion for
         5

  judgment as a matter of law after Plaintiff’s presentation of her case (including Dr.
  Rosenzweig’s testimony) at trial. See Fed. R. Civ. P. 50.
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  possibility that the product could cause the type of condition experienced by Plaintiff. See

  Upjohn Co. v. MacMurdo, 562 So. 2d 680, 683 (Fla. 1990). Typically, the adequacy of

  warnings is a question of fact but in certain circumstances—when the warning is

  “accurate, clear, and unambiguous”—this can become a question of law. Felix v.

  Hoffmann-LaRoche, Inc., 540 So. 2d 102, 105 (Fla. 1989).

         Here, the warnings mention many of the symptoms Plaintiff complains of, but

  merely listing potential complications without categorical prohibitions is insufficient to

  absolve BSC as a matter of law. (See Doc. 110-2, p. 8; Doc. 125, p. 11); see also Amore v. G.D.

  Searle & Co., 748 F. Supp. 3d 845, 851 (S.D. Fla. 1990); cf. Felix, 540 So. 2d at 105 (warning

  clearly stated the product should not be prescribed to pregnant patients because of

  observed fetal mutations in animal studies). 6 The Instructions for Use didn’t explain the

  frequency, severity, or duration of these risks, or warn of the difficulty of removal of the

  devices (leading to potentially chronic symptoms) or that the device was made of

  polypropylene, a material (according to Plaintiff) not designed or suitable for permanent

  human implantation that could degrade in vivo. (See Doc. 110-2); Humleker v. Bos. Sci.

  Corp., No. 6:19-cv-121-Orl-31EJK, 2020 WL 6870852, at *13–15 (M.D. Fla. Oct. 2, 2020); see

  also Eghnayem, 873 F.3d at 1322–23. BSC hasn’t shown it is “inconceivable that reasonable

  persons could disagree as to the adequacy of the warnings”—so summary judgment is

  inappropriate here. See Felix, 540 So. 2d at 105 (quotation marks and citation omitted); cf.

  Humleker, 2020 WL 6870852, at *13–15; Amore, 748 F. Supp. 3d at 851.



         6   See also Eghnayem, 873 F.3d at 1322–23.
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         BSC next argues that even if the warnings were inadequate, Plaintiff has failed to

  show this failure proximately caused her injuries. (Doc. 110, pp. 15–18.) Under Florida

  law, Plaintiff must prove her physician would have acted differently if adequately

  warned. See Eghnayem, 873 F.3d at 1321. BSC points out Dr. Jones was independently

  aware of many risks associated with the Advantage Fit prior to recommending the

  procedure, including the injuries Plaintiff is alleging. (Doc. 110, p. 16; see also Doc. 110-5,

  pp. 19:24–20:6, 21:1–8, 127:8–128:8–17.) But Dr. Jones also testified she would “certainly”

  want to be informed if the polypropylene used to make the mesh was not suited for

  permanent human implantation and she “likely would not use that product” if so

  warned. (Doc. 125-3, pp. 43:10–45:6.) This is enough to satisfy the proximate causation

  element. See Humleker, 2020 WL 6870852, at *16–17. Summary judgment on Plaintiff’s

  failure to warn claims against BSC is denied. See id. 7

         Finally, punitive damages and choice of law. Both parties agree the law that

  applies governs the availability of punitive damages against BSC: should Massachusetts

  (BSC’s home state) law apply, punitive damages are unavailable; should Florida law

  apply, the claim goes to the jury. (See Doc. 110, pp. 18–25; Doc. 125, pp. 14–20.) The Court



         7 See also Tyree v. Bos. Sci. Corp., No. 2:12-cv-08633, 2014 WL 5359008, at *3–4
  (S.D.W. Va. Oct. 20, 2014); William v. Bos. Sci. Corp., No. 2:12-cv-02052, 2016 WL 1448860,
  at *5 (S.D.W. Va. Apr. 12, 2016); Eghnayem v. Bos. Sci. Corp., No. 2:13-cv-07965, 2014 WL
  5460605, at *5–6 (S.D.W. Va. Oct. 27, 2014); Jimenez v. Bos. Sci. Corp., No. 2:13-cv-02864,
  2016 WL 1448863, at *3–4 (S.D.W. Va. Apr. 12, 2016); Nava v. Bos. Sci. Corp., No. 2:13-cv-
  14455, 2016 WL 1448869, at *3–4 (S.D.W. Va. Apr. 12, 2016); Allen v. Bos. Sci. Corp., No.
  2:13-cv-06738, 2015 WL 5838511, at *4–5 (S.D.W. Va. Oct. 5, 2015); Wolford v. Bos. Sci. Corp.,
  2:12-cv-00835, 2015 WL 5838504, at *4–5 (S.D.W. Va. Oct. 5, 2015); Waltman v. Bos. Sci.
  Corp., No. 2:12-cv-00691, 2016 WL 1436681, at *3 (S.D.W. Va. Apr. 11, 2016).
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  must determine which law applies because there are two sovereigns with an interest in

  this case (Massachusetts and Florida) and their laws conflict. See Humleker, 2020 WL

  6870852, at *18–20; see also Judge v. Am. Motors Corp., 908 F.2d 1565, 1568–69 (11th Cir.

  1990). In deciding which state has the most significant relationship, the Court considers:

  (1) where the injury occurred; (2) where the conduct causing the injury occurred; (3) the

  domicile/residence of the parties; and (4) the place where the relationship between the

  parties is centered. Salinero v. Johnson & Johnson, 408 F. Supp. 3d 1354, 1357 (S.D. Fla. 2019);

  see also Restatement (Second) of Conflict of Law § 143 (1971).

         BSC argues Massachusetts law governs punitive damages under this test because

  BSC is headquartered there, the alleged conduct to be punished (BSC’s decisions)

  occurred there, and citizens of Massachusetts reasonably expect Massachusetts law will

  govern their conduct. (Doc. 110, pp. 19–24.) Plaintiff responds Plaintiff was injured in

  Florida, BSC chose to sell its products nationally (including in Florida), the relationship

  between the parties is centered in Florida, and Florida has made a policy decision to

  impose punitive damages and protect its citizens. (Doc. 125, pp. 15–17.) Plaintiff has the

  better argument.

         The injury occurred in Florida—a factor heavily favoring Florida in this analysis.

  See Bishop v. Fla. Specialty Paint Co., 389 So. 2d 999, 1001 (Fla. 1980). While BSC made

  decisions in Massachusetts—it also sold its products in Florida, and Plaintiff was

  implanted in Florida, so this factor is mixed. The third factor—location of the parties—

  also splits along party lines. But the fourth factor favors Plaintiff: BSC distributed its


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  products in Florida, Plaintiff was implanted in Florida, and Plaintiff was injured in

  Florida. So, on balance, Florida has a more significant relationship to the claim and

  Florida law controls punitive damages. See Humleker, 2020 WL 6870852, at *18–20;

  Eghnayem v. Bos. Sci. Corp., 2014 WL 5386731, at 3–5; Estate of Miller v. Ford Motor Co., No.

  2:01-cv-545-FtM-29DNF, 2004 WL 7330563, at *3 (M.D. Fla. July 22, 2004). BSC’s MSJ on

  punitive damages is denied.

         C.     Coloplast’s MSJ

         Coloplast, like BSC, argues Plaintiff’s claims fail because she cannot show

  causation. (Doc. 114, pp. 7–11.) But Coloplast focuses on general causation evidence, not

  the existence of two competing products. (See id.) Regardless, the result is the same:

  Plaintiff has provided sufficient causation evidence to withstand summary judgment.

         “In Florida, ‘a product is defectively designed if the plaintiff proves that the design

  of the product proximately caused the plaintiff’s injuries and the defendant fails to prove

  that on balance, the benefits of the design outweigh the risk of danger inherent in the

  design.’” Eghnayem, 873 F.3d at 1319 (quoting Force v. Ford Motor Co., 879 So.2d 103, 106

  (Fla. 5th DCA 2004)); see also Bailey v. Janssen Pharmaceutica, Inc., 288 F. App’x 597, 606

  (11th Cir. 2008). Plaintiff offers the testimony of Dr. Jimmy Mays, a polymers expert, who

  opines the mesh product is defective because it is made from polypropylene. (Doc. 123-

  6, pp. 6–7.) And Dr. Rosenzweig opines the mesh products implanted in Plaintiff (the

  Restorelle Y and Advantage Fit) degraded in vivo and caused mesh erosions, vaginal




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  bleeding, and infection. 8 (Doc. 125-4, pp. 10, 14.) Put together, these two opinions raise a

  triable issue of material fact as to whether a defectively designed product proximately

  caused Plaintiff’s injuries. No more is needed. See Eghnayem, 873 F.3d at 1319.

         Coloplast argues Dr. Rosenzweig’s testimony isn’t sufficient because he isn’t

  offered as a general causation expert—relying heavily on toxic tort cases. (Doc. 114, pp.

  7–8. 9) But these cases don’t create a heightened burden on causation for medical device

  products liability. (See id.) Instead, they simply restate, in the toxic tort context, what is

  required for any product liability claim under Florida law: (1) a product defect that was

  (2) “more likely than not, a ‘substantial factor’ in causing the injury.” Whitney, 157 So. 3d

  at 312; Eghnayem, 873 F.3d at 1319.10 As the expert testimony of Drs. Mays and

  Rosenzweig together allow a reasonable jury to conclude the Restorelle Y’s defective

  design caused Plaintiff’s injuries, Coloplast’s MSJ as to causation is denied. 11

         Next, punitive damages. Coloplast argues the evidence isn’t sufficient to support

  punitive damages under Florida law.12 (Doc. 114, pp. 24–26); see also Fla. Stat. § 768.72(2).

  For punitive damages to be available, Plaintiff must be able to show, by clear and



         8 Previously, the Court found Dr. Rosenzweig could not offer general causation
  opinions—e.g., the mesh is defective—but could offer case specific opinions on the
  injuries Plaintiff has suffered and their causes. (See Doc. 163, pp. 5–9.)
         9 See also Guinn v. AstraZeneca Pharm. LP, 598 F. Supp. 2d 1239, 1241 (M.D. Fla.

  2009); Haller v. AstraZeneca Pharm. LP, 598 F. Supp. 2d 1271, 1275 (M.D. Fla. 2009); McClain
  v. Metabolife Int’l, Inc., 401 F.3d 1233, 1237 (11th Cir. 2005).
         10 See also supra, note 9.
         11 Coloplast also argues Dr. Rosenzweig’s case-specific opinions should be

  excluded but the Court already ruled against this argument. (See Doc. 163, pp. 5–9.)
         12 Both Plaintiff and Coloplast agree Florida law should apply. (Doc. 114, pp. 24–

  26; Doc. 123, pp. 15–19.)
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  convincing evidence, Coloplast was guilty of “intentional misconduct”—e.g. it had

  “actual knowledge of the wrongfulness of the conduct and the high probability [of]

  injury” yet continued anyways—or “gross negligence”—e.g. its conduct “was so reckless

  or wanting in care it constituted a conscious disregard or indifference to the life, safety,

  or rights” of others. Mee Indus. v. Dow Chem. Co., 608 F.3d 1202, 1220–21 (11th Cir. 2010)

  (quoting Fla. Stat. § 768.72(2)). This is a “fact intensive” inquiry “best conducted after the

  facts of the case are presented to a jury.” Melford v. Kahane & Assoc., 371 F. Supp. 3d 1116,

  1129 (S.D. Fla. 2019) (cleaned up). Dr. Rosenzweig presents evidence Coloplast

  purposefully concealed the risks of the Restorelle Y despite knowing the risks before the

  launch of its product. (See Doc. 124-2, p. 12.) This is sufficient for a jury to infer gross

  negligence or intentional misconduct, so summary judgment isn’t appropriate. See id.;

  Melford, 371 F. Supp. 3d at 1129. Coloplast’s MSJ on punitive damages is denied. 13

         Finally, Coloplast’s arguments as to failure to warn are nearly identical to BSC’s

  arguments. (See Doc. 114, pp. 12–22; cf. Doc. 110, pp. 13–18.) As the Court explained,

  simply including Plaintiff’s symptoms on a long list of possible adverse effects isn’t

  enough to show the adequacy of the warning as a matter of law, and Dr. Jones’ testimony

  raises a triable issue as to causation. See supra Section III.B. So Coloplast’s MSJ on failure

  to warn is denied. 14




          See supra, note 3.
         13
         14As to Plaintiff’s claims on the discovery rule, tolling, and fraudulent
  concealment—the Court has dismissed these claims based on Plaintiff’s representation,
  so Coloplast’s MSJ on this point is moot. See supra note 2; (see also Doc. 123).
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                                   IV.    CONCLUSION

        It is ORDERED AND ADJUDGED:

        1.     Count VIII of Plaintiff’s Complaint for Discovery Rule, Tolling and

               Fraudulent Concealment (Doc. 1, p. 5) is DISMISSED.

        2.     Defendant Boston Scientific’s Motion to Exclude the Case-Specific Opinions

               and Testimony of Dr. Bruce Rosenzweig, M.D. (Doc. 111) is DENIED.

        3.     Defendant Boston Scientific’s Dispositive Motion for Summary Judgment

               (Doc. 110) is DENIED.

        4.     Defendant Coloplast Corp.’s Motion for Summary Judgment (Doc. 114) is

               DENIED.

        DONE AND ORDERED in Chambers in Orlando, Florida, on December 23, 2020.




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  Counsel of Record




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